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                    APPENDIX D
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                                          APPENDIX D

       Pursuant to MDL Order No. 4 (Doc. No. 259), and in lieu of a separate nomination, Mr.

Federman provides Appendix D, listing other attorneys whom he believes would be beneficial to

leadership.

   1. Gary M. Klinger and David K. Lietz of Milberg Coleman Bryson Phillips Grossman: Gary

       M. Klinger and David K. Lietz are exceptional data breach attorneys who have actively

       litigated over 100 data breach cases; with the aid of Mr. Klinger and Mr. Lietz, Mr.

       Federman can conduct the first bellwether trial within twelve (12) months of the Court’s

       ruling on a motion to dismiss.




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